          Case 16-02020 Document 4-2 Filed in TXSB on 10/27/16 Page 1 of 2




                     IN THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION


In re:

INTERNATIONAL OIL TRADING                         Case No. 15-21596-BKC-EPK
COMPANY, LLC

      Debtor.                                     Chapter 7
____________________________________/

MOHAMMAD ANWAR                                    Adv. No. 16-2020-DRJ
FARID AL-SALEH,

         Plaintiff/Judgment Creditor,

vs.

HARRY SARGEANT III, MUSTAFA
ABU-NABA'A, INTERNATIONAL
OIL TRADING COMPANY, LLC,
BTB REFINING, LLC, and
SARGEANT MARINE, LTD.,
Defendants/Judgment Debtors.
____________________________________/



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          Case 16-02020 Document 4-2 Filed in TXSB on 10/27/16 Page 2 of 2



               [PROPOSED] AGREED ORDER REMANDING PROCEEDING

         On October 24, 2016, the United States Bankruptcy Court for the Southern District of

Florida (Judge Erik Kimball), granted the motion of International Oil Trading Company, LLC to

dismiss the bankruptcy case that was the basis for removal of this proceeding, and accordingly, it

is –

         ORDERED that this proceeding is remanded to the 319th Judicial District Court of

Nueces County, Texas, pursuant to 28 U.S.C. § 1452(b), and this proceeding is dismissed.

                                               ###

ORDER SUBMITTED BY:
Mr. David W. Parham, Esq.
AKERMAN, LLP
General Counsel for the Trustee
2001 Ross Avenue, Suite 2550
Dallas, TX 75201
david.parham@akerman.com


COPIES FURNISHED TO:
Mr. David W. Parham, Esq.
[Attorney Parham is directed to serve copies of this order on all interested parties and to file a
certificate of service]




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